      Case 4:19-cv-04499 Document 1 Filed on 11/15/19 in TXSD Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MAGGIE MALEKIFAR                                     §
Plaintiff,                                           §
                                                     §
v.                                                   §   CIVIL ACTION NO.__________
                                                     §        JURY DEMANDED
OCCIDENTAL FIRE & CASUALTY                           §
COMPANY OF NORTH CAROLINA                            §
Defendant.                                           §



            DEFENDANT OCCIDENTAL FIRE & CASUALTY COMPANY OF
                  NORTH CAROLINA’S NOTICE OF REMOVAL


     TO THE HONORABLE COURT:

            Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant Occidental Fire &

     Casualty Company of North Carolina (“Occidental”) files this Notice of Removal from

     that court to the United States District Court for the Southern District of Texas, Houston

     Division, on the basis of diversity of citizenship and respectfully shows:

                                 I. FACTUAL BACKGROUND

            1.1     On or about October 11, 2019, Plaintiff filed their Original Petition in the

     matter styled Maggie Malekifar v. Occidental Fire & Casualty of North Carolina, in the

     125th District Court of Harris County, Texas, in which Plaintiff made a claim for damages

     to her home under a homeowner’s insurance policy.

            1.2     Plaintiff served Occidental with process and Plaintiff’s Original Petition

     on October 18, 2019.

           1.3      Plaintiff’s Original Petition states that “On or about August 25, 2017,

 plaintiff’s property sustained windstorm damage.” Pl.’s Original Pet. at §11.


                                                 1
     Case 4:19-cv-04499 Document 1 Filed on 11/15/19 in TXSD Page 2 of 5



        1.4     Plaintiff alleges that Occidental improperly adjusted and underpaid her

claim. Id. at §17. Plaintiffs’ Petition seeks damages for breach of contract, breach of the

duty of good faith and fair dealing, violations of the Texas Insurance Code, and violations

of the Deceptive Trade Practices Act. Id. at §24-52.

        1.5    The Index of Matters Being Filed is attached as Exhibit A to this Notice of

Removal. A certified copy of the Harris County District Clerk’s file for this case is also

attached as Exhibit B and includes true and correct copies of all executed process,

pleadings, and orders. The Designation of Counsel is attached as Exhibit C.

                                  II. BASIS FOR REMOVAL

        2.1    Removal is proper based upon diversity of citizenship under 28 U.S.C. §§

1332, 1441(a) and 1446.

A.      Complete diversity exists between Plaintiff and Occidental.

        2.2    At the time the lawsuit was filed, Plaintiff was a resident of the State of

Texas. See Pl.’s Original Pet. at §3.

        2.3    Defendant Occidental Fire & Casualty Company of North Carolina is

incorporated as a North Carolina-domiciled insurance company and has its principal place

of business in North Carolina. Accordingly, Occidental is not a citizen of Texas.

        2.4    Because Plaintiff is a citizen of Texas and Occidental, a foreign defendant, is

the only defendant in this action, there is complete diversity between the parties. As such,

removal is proper based upon diversity of citizenship under 28 U.S.C. §§ 1332(a)(1),

1441(a), and 1446.




                                             2
     Case 4:19-cv-04499 Document 1 Filed on 11/15/19 in TXSD Page 3 of 5



B.      The amount of damages prayed for by Plaintiff exceeds the amount in
        controversy required to confer diversity jurisdiction on this Court.

        2.5     Federal courts have subject matter jurisdiction over actions between citizens

of different states in which the amount in controversy exceeds $75,000.       28 U.S.C.

§1332(a)(1); Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 882 (5th Cir. 2000).

Generally, an amount in controversy for the purposes of establishing federal jurisdiction is

determined by the Plaintiffs’ complaint. De Aguilar v. Boeing Co., 47 F.3d 1404, 1411-12

(5th Cir. 1995).

        2.6     In her Petition, Plaintiff seeks monetary relief of over $200,000. See Pl.’s

Original Pet. at §2. The face of Plaintiff’s Petition establishes that the amount in

controversy exceeds this Court’s requirements.

               III. THE REMOVAL IS PROCEDURALLY CORRECT

        3.1     Defendant Occidental was first served with Plaintiff’s Original Petition and

process on October 18, 2019. By filing its Notice on this day, November 15, 2019,

Defendant Occidental files its Notice of Removal within the thirty-day time period

required by 28 U.S.C. §1446(b).

        3.2     Venue is proper in this District and Division under 28 U.S.C. §1446(a)

because this District and Division include the county in which the state action has been

pending and because a substantial part of the events giving rise to Plaintiff’s claims

allegedly occurred in this District and Division.

        3.3     Pursuant to 28 U.S.C. §1446(d), promptly after Occidental files this Notice,

written notice of the filing will be given to Plaintiff, the adverse party.




                                               3
  Case 4:19-cv-04499 Document 1 Filed on 11/15/19 in TXSD Page 4 of 5



       3.4     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice of

Removal will be filed with the Clerk of the Harris District Court, promptly after

Occidental files this Notice.

                                    IV. CONCLUSION

       4.1 Based on the foregoing, the exhibits submitted in support of this Notice, and

other documents filed contemporaneously with this Notice and fully incorporated herein,

Defendant Occidental Fire & Casualty Company of North Carolina hereby removes this

case to this Court for trial and determination.




                                                  Respectfully submitted,

                                                  GAULT, NYE & QUINTANA, L.L.P.
                                                  P.O. Box 6666
                                                  Corpus Christi, Texas, 78466
                                                  Telephone: (361) 654-7008
                                                  Fax: (361) 654-7001

                                                  By: /s/ Mikell A. West
                                                     Mikell A. West
                                                     Attorney-in-Charge
                                                     State Bar No. 24070832
                                                     Southern Dist. No. 1563058
                                                     mwest@gnqlawyers.com

                                                  ATTORNEY FOR OCCIDENTAL
                                                  FIRE & CASUALTY COMPANY
                                                  OF NORTH CAROLINA




                                              4
  Case 4:19-cv-04499 Document 1 Filed on 11/15/19 in TXSD Page 5 of 5



Of counsel:

GAULT, NYE & QUINTANA, L.L.P.
P.O. Box 6666
Corpus Christi, Texas, 78466
Telephone: (361) 654-7008
Fax: (361) 654-7001
Thomas F. Nye
State Bar No. 15154025
Southern Dist. No. 7952
tnye@gnqlawyers.com




                         CERTIFICATE OF SERVICE

       I, Mikell A. West, certify that on November 15, 2019, a copy of Defendant
Occidental Fire & Casualty Company of North Carolina’s Notice of Removal was
electronically filed on the CM/ECF system, and will be served on the following
attorneys in charge for Plaintiff Maggie Malekifar:



VIA CM/RRR: 7017 3040 0000 6511 3293
Danny Ray Scott
SCOTT LAW OFFICES, P.C.
P.O. Box 53358
Houston, Texas 77052
(713) 941-9309



                                            /s/ Mikell A. West
                                            Mikell A. West




                                        5
